                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

     In re:                                                   Chapter 11

     PINEY WOODS RESOURCES, INC., et al.,1                    Case No. 19-01390-DSC-11

                           Debtors.                           (Jointly Administered)


            DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
        (I) APPROVING THE DEBTORS’ PROPOSED ADEQUATE ASSURANCE OF
        PAYMENT FOR FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY
      COMPANIES FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
     (III) APPROVING THE DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING
     ADDITIONAL ASSURANCE REQUESTS, AND (IV) GRANTING RELATED RELIEF

              Piney Woods Resources, Inc., and its debtor affiliate, Jesse Creek Mining, LLC, as debtors

 and debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 respectfully state the following in support of this motion (the “Motion”):

                                               Relief Requested

              1.     The Debtors seek entry of interim and final orders, substantially in the form

 attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and “Final Order”):

 (a) approving the Debtors’ proposed adequate assurance of payment for future utility services;

 (b) prohibiting utility companies from altering, refusing, or discontinuing service; (c) approving

 the Debtors’ proposed procedures for resolving additional adequate assurance requests; and

 (d) granting related relief. In addition, the Debtors request that the Court schedule a final hearing

 within approximately 21 days of the Commencement Date to consider approval of this Motion on

 a final basis.


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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Piney Woods Resources, Inc. (0129) and Jesse Creek Mining, LLC (0533). The
 location of the Debtors’ service address is: 1615 Kent Dairy Road, Alabaster, Alabama 35007. Debtors have filed a
 motion for joint administration with the Court.

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                                       Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Northern District of Alabama (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the General

 Order of Reference from the United States District Court for the Northern District of Alabama,

 dated January 12, 1995. The Debtors confirm their consent, pursuant to rule 7008 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court

 in connection with this Motion to the extent that it is later determined that the Court, absent consent

 of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

 III of the United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 105(a) and 366 of the

 Bankruptcy Code and Bankruptcy Rule 6003.

                                             Background

        5.      The Debtors are engaged in the production and sale of metallurgical grade coal

 from a mining complex located in Shelby County, Alabama. Debtor Piney Woods Resources, Inc.

 is the parent company of Jesse Creek Mining, LLC. The Jesse Creek mining complex consists of

 a surface and highwall mining operation, a preparation plant, and an underground mine

 development project. Mining and development operations were idled on March 27, 2019.

        6.      On the April 2, 2019 (“Commencement Date”), each Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 business and managing their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors filed a

 motion requesting procedural consolidation and joint administration of these chapter 11 cases



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 pursuant to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has

 been made in these chapter 11 cases, and no committees have been appointed or designated.

                          Utility Services and Proposed Adequate Assurance

 I.     The Utility Services and Utility Companies.

        7.      In connection with the operation of their businesses and management of their

 properties, the Debtors obtain electricity, telecommunications, natural gas, water, waste

 management (including sewer and trash), internet, and other similar services (collectively, the

 “Utility Services”) from a number of utility companies or brokers (collectively, the “Utility

 Companies”). A nonexclusive list of the Utility Companies and their affiliates that provide Utility

 Services to the Debtors as of the Commencement Date (the “Utility Services List”) is attached

 hereto as Exhibit C. The relief requested herein is requested with respect to all Utility Companies

 providing Utility Services to the Debtors.

        8.      On average, the Debtors pay approximately $91,638.00 each month for third-party

 Utility Services, calculated as a historical average payment for the twelve months ending in

 February 28, 2019.

        9.      The mining operations, however, were idled on March 27, 2019 and it is projected

 that the Debtors will pay approximately $30,000.00 each month for third-party Utility Services.

 II.    Proposed Adequate Assurance of Payment.

        10.     The Debtors intend to pay postpetition obligations owed to the Utility Companies in

 a timely manner. Cash held by the Debtors and the proceeds of the proposed debtor-in-possession

 financing facility will provide sufficient liquidity to pay the Debtors’ Utility Service obligations in

 accordance with their prepetition practice in the ordinary course of business. Certain of the Debtors’

 major utility providers currently hold deposits from the Debtors as of the Commencement Date as set

 forth on Exhibit C.

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        11.     To provide additional assurance of payment, the Debtors propose to deposit into a

 segregated account $15,000.00 (the “Adequate Assurance Deposit”), which represents an amount

 equal to one half the Debtors’ projected monthly cost of Utility Services calculated following the

 idling of the mine or the monthly minimum required to maintain the Utility Service, whichever is

 greater. The Adequate Assurance Deposit will be held in the segregated account at a bank selected

 by the Debtors for the benefit of the Utility Companies (the “Adequate Assurance Account”) and

 for the duration of these chapter 11 cases and may be applied to any postpetition defaults in

 payment to the Utility Companies. The Adequate Assurance Deposit will be held by the Debtors;

 no liens will encumber the Adequate Assurance Deposit or the Adequate Assurance Account. The

 Debtors submit that the Adequate Assurance Deposit and Existing Deposits, in conjunction with

 the Debtors’ ability to pay for future Utility Services in accordance with their prepetition practices

 (collectively, the “Proposed Adequate Assurance”), constitutes sufficient adequate assurance to

 the Utility Companies in full satisfaction of section 366 of the Bankruptcy Code.

 III.   The Adequate Assurance Procedures.

        12.     In light of the severe consequences to the Debtors’ businesses and operations that

 would result from any interruption in Utility Services, but recognizing the right of the Utility

 Companies to evaluate the Proposed Adequate Assurance, if a Utility Company believes additional

 adequate assurance is required, it may request such assurance pursuant to the following procedures

 (the “Adequate Assurance Procedures”):


                   a.     Subject to paragraphs (e)–(h) herein, the Debtors will deposit the Adequate
                          Assurance Deposit, in the aggregate amount of $15,000.00, in the
                          Adequate Assurance Account within ten business days of entry of the
                          Interim Order.

                   b.     Each Utility Company (other than those with Existing Deposits) shall be
                          entitled to the funds in the Adequate Assurance Account in the amount


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                      set forth for such Utility Company in the column labeled “Proposed
                      Adequate Assurance” on the Utility Services List.

             c.       If an amount relating to Utility Services provided postpetition by a Utility
                      Company is unpaid, and remains unpaid beyond any applicable grace
                      period, such Utility Company may request a disbursement from the
                      Adequate Assurance Account by giving notice to: (i) the Debtors, 1615
                      Kent Dairy Road, Alabaster, AL 35007; (ii) proposed counsel to the
                      Debtors, Jackson Kelly PLLC, 175 E. Main Street, Ste. 500, Lexington,
                      KY 40507, Attn: Mary Elisabeth Naumann and Chacey R. Malhouitre;
                      (iii) proposed co-counsel to the Debtors, Benton & Centeno LLP, 2019
                      Third Avenue North, Birmingham, Alabama 35203, Attn.: Lee R. Benton
                      and Samuel C. Stephens; (iv) the Office of the Bankruptcy Administrator
                      for the Northern District of Alabama, Robert S. Vance Federal Building,
                      1800 Fifth Avenue, Suite 300, Birmingham, Alabama 35203; (v) the
                      official committee of unsecured creditors (if any) appointed in these
                      chapter 11 cases and its counsel; (vi) counsel to the lenders under the
                      Debtors’ debtor-in-possession credit agreement and prepetition first-lien
                      credit agreements, Davis Graham & Stubbs LLP, 1550 17th Street, Suite
                      500, Denver, CO 80202, Attn: Christopher L. Richardson, and Kyler K.
                      Burgi, and Maynard Cooper & Gale, 1901 Sixth Avenue North Regions
                      Harbert Plaza, Suite 2400, Birmingham, AL 35203, Jayna Partain Lamar;
                      and (vii) to the extent not listed herein, those parties requesting notice
                      pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The
                      Debtors shall, in consultation with the DIP Lenders, honor such request
                      within five business days after the date the request is received by the
                      Debtors, subject to the ability of the Debtors, in consultation with the DIP
                      Lenders, and any such requesting Utility Company to resolve any dispute
                      regarding such request without further order of the Court. To the extent a
                      Utility Company receives a disbursement from the Adequate Assurance
                      Account, the Debtors shall replenish the Adequate Assurance Account in
                      the amount disbursed.

             d.       The portion of the Adequate Assurance Deposit attributable to each Utility
                      Company shall be returned to the Debtors on the earlier of (i) reconciliation
                      and payment by the Debtors of the Utility Company’s final invoice in
                      accordance with applicable nonbankruptcy law following the Debtors’
                      termination of Utility Services from such Utility Company and (ii) the
                      effective date of any chapter 11 plan confirmed in these chapter 11 cases.

             e.       Any Utility Company desiring additional assurances of payment in the
                      form of deposits, prepayments, or otherwise must serve a request for
                      additional assurance (an “Additional Assurance Request”) on the Notice
                      Parties.

             f.       Any Additional Assurance Request must (i) be in writing, (ii) identify the
                      location for which the Utility Services are provided, (iii) summarize the

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                      Debtors’ payment history relevant to the affected account(s), (iv) certify
                      the amount that is equal to two weeks of the Utility Services the Utility
                      Company provides to the Debtors, calculated based on Debtors’ projected
                      use following the idling of the mine or any other minimum amount
                      required, and (v) certify that the Utility Company does not already hold a
                      deposit equal to or greater than two weeks of Utility Services.

             g.       Any Additional Assurance Request may be made at any time. If a Utility
                      Company fails to file and serve an Additional Assurance Request, the
                      Utility Company shall be (i) deemed to have received “satisfactory”
                      adequate assurance of payment in compliance with section 366 of the
                      Bankruptcy Code and (ii) forbidden from discontinuing, altering, or
                      refusing Utility Services to, or discriminating against, the Debtors on
                      account of any unpaid prepetition charges, or requiring additional
                      assurance of payment other than the Proposed Adequate Assurance.

             h.       Upon the Debtors’ receipt of any Additional Assurance Request, the
                      Debtors shall promptly negotiate with such Utility Company to resolve such
                      Utility Company’s Additional Assurance Request to negotiate with such
                      Utility Company to resolve such Utility Company’s Additional
                      Assurance Request.

             j.       The Debtors may, in consultation with the DIP Lenders, and without further
                      order from the Court, resolve any Additional Assurance Request by mutual
                      agreement with a Utility Company and, the Debtors may, in connection with
                      any such agreement, and in consultation with the DIP Lenders, provide a
                      Utility Company with additional adequate assurance of payment, including,
                      but not limited to, cash deposits, prepayments, or other forms of security if
                      the Debtors believe, that such adequate assurance is reasonable, subject to
                      the terms of any debtor in possession financing and cash collateral orders
                      entered by the Court.

             k.       If the Debtors, in consultation with the DIP Lenders, and the Utility
                      Company are not able to reach an alternative resolution within 21 days of
                      receipt of the Additional Assurance Request, the Debtors will request a
                      hearing before the Court at the next regularly scheduled hearing to
                      determine the adequacy of assurances of payment with respect to a
                      particular Utility Company (the “Determination Hearing”) pursuant to
                      section 366(c)(3) of the Bankruptcy Code.

             l.       Pending resolution of any such Determination Hearing, the Utility
                      Company filing such Additional Assurance Request shall be prohibited
                      from altering, refusing, or discontinuing Utility Services to the Debtors
                      on account of unpaid charges for prepetition services or on account of any
                      objections to the Proposed Adequate Assurance.




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   IV. Modifications to the Utility Services List.
        13.     To the extent the Debtors identify new or additional Utility Companies or

 discontinue services from existing Utility Companies, the Debtors seek authority to add or remove

 parties from the Utility Services List. For any Utility Company that is subsequently added to the

 Utility Services List, the Debtors will serve such Utility Company with a copy of the Court’s order

 regarding Utility Services, including the Adequate Assurance Procedures. The Debtors request that

 the terms of such Utility Services order and the Adequate Assurance Procedures apply to any

 subsequently identified Utility Company.

                                           Basis for Relief
        14.     Uninterrupted Utility Services are essential to the Debtors’ ongoing business

 operations, and hence the overall success of these chapter 11 cases. The Debtors’ businesses

 involve exploring for coal, and even though the mine is idled, the Debtors must maintain the ability

 to utilize utilities to preserve the value of the assets. The Debtors’ operations require electricity

 and gas for lighting, heating, and air conditioning. In addition to the mining operations, the Debtors

 operate a corporate office responsible for ensuring the smooth operation of the Debtors’

 businesses. These offices and mining complexes require electricity, telecommunications, internet,

 water, and waste management (including sewer and trash) services to operate in each of their

 respective locations. Should any Utility Company refuse or discontinue service, even for a brief

 period, the Debtors’ business operations would be severely disrupted, and such disruption would

 jeopardize the Debtors’ ability to manage their reorganization efforts. Further, feasible alternative

 utility providers do not exist for most of the mining complexes, or the Debtors would incur

 substantial costs in finding alternative providers. Accordingly, it is essential that the Utility

 Services continue uninterrupted during the chapter 11 cases.




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         15.     Section 366 of the Bankruptcy Code protects a debtor against the immediate

 termination or alteration of utility services after the Commencement Date. See 11 U.S.C. § 366.

 Section 366(c) of the Bankruptcy Code requires the debtor to provide “adequate assurance” of

 payment for postpetition services in a form “satisfactory” to the utility company within thirty days

 of the petition, or the utility company may alter, refuse, or discontinue service. 11 U.S.C. § 366(c)(2).

 Section 366(c)(1) of the Bankruptcy Code provides a non-exhaustive list of examples for what

 constitutes “assurance of payment.” 11 U.S.C. § 366(c)(1). Although assurance of payment must be

 “adequate,” it need not constitute an absolute guarantee of the debtors’ ability to pay. See, e.g., In re

 Great Atl. & Pac. Tea Co., 2011 WL 5546954, at *5 (Bankr. S.D.N.Y. Nov. 14, 2011) (finding that

 “[c]ourts will approve an amount that is adequate enough to insure against unreasonable risk of

 nonpayment, but are not required to give the equivalent of a guaranty of payment in full”); In re

 Caldor, Inc., 199 B.R. 1, 3 (S.D.N.Y. 1996) (“Section 366(b) requires . . . ‘adequate assurance’ of

 payment. The statute does not require an absolute guarantee of payment.” (citation omitted)), aff’d

 sub nom. Va. Elec. & Power Co. v. Caldor, Inc., 117 F.3d 646 (2d Cir. 1997).

         16.     When considering whether a given assurance of payment is “adequate,” the Court

 should examine the totality of the circumstances to make an informed decision as to whether the

 Utility Company will be subject to an unreasonable risk of nonpayment. See In re Keydata Corp.,

 12 B.R. 156, 158 (B.A.P. 1st Cir. 1981) (citing In re Cunha, 1 B.R. 330 (Bankr. E.D. Va. 1979)); In

 re Adelphia Bus. Sols., Inc., 280 B.R. 63, 82–83 (Bankr. S.D.N.Y. 2002). In determining the level

 of adequate assurance, however, “a bankruptcy court must focus upon the need of the utility for

 assurance, and . . . require that the debtor supply no more than that, since the debtor almost perforce

 has a conflicting need to conserve scarce financial resources.” Va. Elec. & Power Co., 117 F.3d at




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 650 (internal quotations omitted) (citing In re Penn Jersey Corp., 72 B.R. 981, 985 (Bankr. E.D. Pa.

 1987)).

           17.   Here, the Utility Companies are adequately assured against any risk of nonpayment

 for future services. The Adequate Assurance Deposit, the Existing Deposits, and the Debtors’ ongoing

 ability to meet obligations as they come due in the ordinary course, provides assurance of the Debtors’

 payment of their future obligations. Moreover, termination of the Utility Services could result in the

 Debtors’ inability to operate their businesses to the detriment of all stakeholders. Cf. In re Monroe

 Well Serv., Inc., 83 B.R. 317, 321–22 (Bankr. E.D. Pa. 1988) (noting that without utility service the

 debtors “would have to cease operations” and that section 366 of the Bankruptcy Code “was

 intended to limit the leverage held by utility companies, not increase it”).

           18.   Courts are permitted to fashion reasonable procedures, such as the Adequate

 Assurance Procedures proposed herein, to implement the protections afforded under section 366

 of the Bankruptcy Code. See, e.g., In re Circuit City Stores Inc., 2009 WL 484553, at *5 (Bankr.

 E.D. Va. Jan. 14, 2009) (stating that “the plain language of §366 of the Bankruptcy Code allows

 the court to adopt the Procedures set forth in the Utility Order”). Such procedures are important

 because, without them, the Debtors “could be forced to address numerous requests by utility

 companies in an unorganized manner at a critical period in their efforts to reorganize.” Id. Here,

 notwithstanding a determination that the Debtors’ Proposed Adequate Assurance constitutes

 sufficient adequate assurance, any rights the Utility Companies believe they have under sections

 366(b) and (c)(2) of the Bankruptcy Code are wholly preserved under the Adequate Assurance

 Procedures. See id. at *5–6. The Utility Companies still may choose, in accordance with the

 Adequate Assurance Procedures, to request modification of the Proposed Adequate Assurance.

 See id. at *6. The Adequate Assurance Procedures, however, avoid a haphazard and chaotic



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 process whereby each Utility Company could make an extortionate, last-minute demand for

 adequate assurance that would force the Debtors to pay under the threat of losing critical Utility

 Services. See id. at *5.

         19.      Further, the Court possesses the power, under section 105(a) of the Bankruptcy Code,

 to “issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

 of this title.” 11 U.S.C. § 105(a). The Proposed Adequate Assurance and Adequate Assurance

 Procedures are necessary and appropriate to carry out the provisions on the Bankruptcy Code,

 particularly section 366 thereof. Accordingly, the Court should exercise its powers under sections

 366 and 105(a) of the Bankruptcy Code and approve both the Adequate Assurance Procedures and

 the Proposed Adequate Assurance.

         20.      The Proposed Adequate Assurance and Adequate Assurance Procedures are

 reasonable and in accord with the purposes of section 366 of the Bankruptcy Code, and thus the

 Debtors respectfully request that the Court grant the relief requested herein. This Court and others

 have granted similar relief to that requested herein. See, e.g., In re Walter Energy, Inc., Case No. 15-

 02741(TOM) (Bankr. N.D. Ala. Aug. 19, 2015) (finding that the adequate assurance and adequate

 assurance procedures are reasonable); In re Bill Heard Ents., Inc., Case No. 08-83029 (JAC) (Bankr.

 N.D. Ala. Sept. 30, 2008) (same); In re Citation Corp., Case No. 07-1153 (TOM) (Bankr. N.D. Ala.

 Mar. 15, 2007) (same); In re Armstrong Energy, Inc., Case No. 17-47541-659 (KSS) (Bankr. E.D.

 Mo. Dec. 11, 2017) (same); In re Peabody Energy Corp., Case No. 16-42529399 (BSS) (Bankr. E.D.

 Mo. Apr. 15, 2016) (same).2




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         Because of the voluminous nature of the orders cited herein, such orders have not been attached to this
 Motion. Copies of these orders are available upon request to the Debtors’ proposed counsel.

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          Processing of Checks and Electronic Fund Transfers Should Be Authorized

         21.     The Debtors have sufficient funds to pay the amounts described in this Motion in

 the ordinary course of business by virtue of debtor-in-possession financing and anticipated access

 to cash collateral. In addition, under the Debtors’ existing cash management system, the Debtors

 can readily identify checks or wire transfer requests as relating to an authorized payment in respect

 of the Utility Services. Accordingly, the Debtors believe that checks or wire transfer requests, other

 than those relating to authorized payments, will not be honored inadvertently. Therefore, the

 Debtors respectfully request that the Court authorize and direct all applicable financial institutions,

 when requested by the Debtors, to receive, process, honor, and pay any and all checks or wire

 transfer requests in respect of the relief requested in this Motion.

                                    Payments Subject to Budget

         22.     Notwithstanding anything to the contrary herein, any payments authorized to be

 made pursuant to this motion shall be made only to the extent authorized under the cash

 collateral budget approved by the Court in effect as of the time such payment is to be made.

                    The Requirements of Bankruptcy Rule 6003 Are Satisfied

         23.     Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

 the Commencement Date “to the extent that relief is necessary to avoid immediate and irreparable

 harm.” Fed. R. Bankr. P. 6003. For the reasons discussed above, prohibiting Utility Companies from

 altering or discontinuing services, authorizing the Debtors to deposit the Proposed Adequate

 Assurance and utilize the Adequate Assurance Procedures, and granting the other relief requested

 herein is integral to the Debtors’ ability to transition their operations into these chapter 11 cases.

 Failure to receive such authorization and other relief during the first 21 days of these chapter 11 cases

 would severely disrupt the Debtors’ operations at this critical juncture. Uninterrupted Utility Services



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 are essential to the Debtors’ ongoing business operations, and hence the overall success of these

 chapter 11 cases as the Debtors must maintain the ability to run their mining equipment in a near-

 constant state. Additionally, the Debtors’ offices require electricity, telecommunications, internet,

 water, and waste management (including sewer and trash) services to operate in each of their

 respective locations. Should any Utility Company refuse or discontinue service, even for a brief

 period, the Debtors’ business operations would be severely disrupted, and such disruption would

 jeopardize the Debtors’ ability to manage their reorganization efforts. For the reasons discussed

 herein, the relief requested is necessary in order for the Debtors to operate their businesses in the

 ordinary course and preserve the ongoing value of the Debtors’ operations and maximize the value of

 their estates for the benefit of all stakeholders. Accordingly, the Debtors submit that they have

 satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting

 the relief requested herein.

                                         Reservation of Rights

         24.     Nothing contained in this Motion or any actions taken by the Debtors pursuant to

 relief granted in the Interim Order and Final Order is intended or should be construed as: (a) an

 admission as to the validity of any particular claim against a Debtor entity; (b) a waiver of the

 Debtors’ rights to dispute any particular claim on any grounds; (c) a promise or requirement to pay

 any particular claim; (d) an implication or admission that any particular claim is of a type specified

 or defined in this Motion; (e) a request or authorization to assume or reject any agreement, contract,

 or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’

 rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

 that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion

 are valid, and the Debtors expressly reserved their rights to contest the extent, validity, or perfection

 or seek avoidance of all such liens. If the Court grants the relief sought herein, any payment made

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 pursuant to the Court’s order is not intended and should not be construed as an admission as to the

 validity of any particular claim or a waiver of the Debtors’ rights to subsequently dispute such

 claim.

                           Waiver of Bankruptcy Rule 6004(a) and 6004(h)

          25.    To implement the foregoing successfully, the Debtors request that the Court enter

 an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

 that the Debtors have established cause to exclude such relief from the 14-day stay period under

 Bankruptcy Rule 6004(h).

                                                Notice

          The Debtors will provide notice of this Motion to: (a) the Office of the Bankruptcy

 Administrator for the Northern District of Alabama; (b) the holders of the 50 largest unsecured

 claims against the Debtors (on a consolidated basis); (c) counsel to the lenders under the Debtors’

 debtor-in-possession credit agreement and prepetition first-lien credit agreements; (d) all other

 secured lenders; (e) equipment and real property lessors; (f) the United States Attorney’s Office

 for the Northern District of Alabama; (g) the United States Internal Revenue Service; (h) the

 Alabama Department of Revenue; (i) the United States Environmental Protection Agency; (j) the

 Alabama Surface Mining Commission; (k) the Alabama Department of Environmental

 Management; (l) the office of the attorneys general for the states in which the Debtors operate; (m)

 the Utility Companies listed in the Utility Services List; and (n) any party that has requested notice

 pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

 requested, no other or further notice need be given.

                                          No Prior Request

          No prior request for the relief sought in this Motion has been made to this or any other

 court.

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        WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

 the Interim Order and Final Order, granting the relief requested herein and such other relief as the

 Court deems appropriate under the circumstances.


 Birmingham, Alabama                           /s/Lee R. Benton                   _______
 Dated: _04/02/2019__                          Lee R. Benton
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                                               – and –

                                               Mary Elisabeth Naumann (KY Bar # 88328)
                                               (Pro hac admission pending)
                                               Chacey R. Malhouitre (KY Bar # 91019)
                                               (Pro hac admission pending)
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                                               Proposed Co-Counsel to the Debtors




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                                   Exhibit A


                                 Interim Order




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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

     In re:                                                    Chapter 11

     PINEY WOODS RESOURCES, INC., et al.,1                     Case No. 19-01390-DSC-11

                           Debtors.                            (Jointly Administered)


                         INTERIM ORDER (I) APPROVING
                 THE DEBTORS’ PROPOSED ADEQUATE ASSURANCE
      OF PAYMENT FOR FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY
      COMPANIES FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
     (III) APPROVING THE DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING
     ADDITIONAL ASSURANCE REQUESTS, AND (IV) GRANTING RELATED RELIEF



              Upon the Motion2 of the above-captioned Debtors for entry of an interim order (this “Interim

 Order”), (a) approving the Debtors’ Proposed Adequate Assurance of payment for future utility

 services, (b) prohibiting Utility Companies from altering, refusing, or discontinuing services,

 (c) approving the Adequate Assurance Procedures for resolving Additional Assurance Requests,

 (d) scheduling a final hearing to consider approval of the Motion on a final basis, and (e) granting

 related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and this

 Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the General

 Order of Reference from the United States District Court for the Northern District of Alabama, dated

 January 12, 1995; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

 § 157(b)(2); and that this Court may enter a final order consistent with Article III of the United



 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Piney Woods Resources, Inc. (0129) and Jesse Creek Mining, LLC (0533). The
 location of the Debtors’ service address is: 1615 Kent Dairy Road, Alabaster, Alabama 35007. Debtors have filed a
 motion for joint administration with the Court.
 2
           Capitalized terms shall have the same meanings as defined in the Motion unless otherwise defined herein.
                                                         1
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 States Constitution; and this Court having found that venue of this proceeding and the Motion in

 this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

 Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

 the circumstances and no other notice need be provided; and this Court having reviewed the Motion

 and having heard the statements in support of the relief requested therein at a hearing before this

 Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth in

 the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

 proceedings had before this Court; and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED THAT:

        1.      Subject to the Adequate Assurance Procedures for resolving Additional Assurance

 Requests, the Motion is granted on an interim basis as set forth herein.

        2.      The final hearing (the “Final Hearing”) on the Motion shall be held on __________,

 2019, at__:__ _.m., prevailing Central Time. Any objections or responses to entry of a final order

 on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on __________, 2019,

 and shall be served on: (a) the Office of the Bankruptcy Administrator for the Northern District of

 Alabama; (b) the holders of the 50 largest unsecured claims against the Debtors (on a consolidated

 basis); (c) counsel to the Debtors; (d) counsel to the lenders under the Debtors’ debtor-in-

 possession credit agreement and prepetition first-lien credit agreements; (e) all other secured

 lenders; (f) equipment and real property lessors; (g) the United States Attorney’s Office for the

 Northern District of Alabama; (h) the United States Internal Revenue Service; (i) the Alabama

 Department of Revenue; (j) the United States Environmental Protection Agency; (k) the Alabama

 Surface Mining Commission; (l) the Alabama Department of Environmental Management; (m) the

 office of the attorneys general for the states in which the Debtors operate; (n) the Utility Companies



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 listed in the Utility Services List; and (o) any party that has requested notice pursuant to

 Bankruptcy Rule 2002. In the event no objections to entry of a final order on the Motion are timely

 received, this Court may enter such final order without need for the Final Hearing.


          3.    The following Adequate Assurance Procedures are hereby approved on an interim

 basis:

                  a.      Subject to paragraphs (e)–(h) herein, the Debtors will deposit the Adequate
                          Assurance Deposit, in the aggregate amount of $15,000.00, in the
                          Adequate Assurance Account within ten business days of entry of the
                          Interim Order.

                  b.      Each Utility Company (other than those with Existing Deposits) shall be
                          entitled to the funds in the Adequate Assurance Account in the amount
                          set forth for such Utility Company in the column labeled “Proposed
                          Adequate Assurance” on the Utility Services List.

                  c.      If an amount relating to Utility Services provided postpetition by a Utility
                          Company is unpaid, and remains unpaid beyond any applicable grace
                          period, such Utility Company may request a disbursement from the
                          Adequate Assurance Account by giving notice to: (i) the Debtors, 1615
                          Kent Dairy Road, Alabaster, AL 35007; (ii) proposed counsel to the
                          Debtors, Jackson Kelly PLLC, 175 E. Main Street, Ste. 500, Lexington,
                          KY 40507, Attn: Mary Elisabeth Naumann and Chacey R. Malhouitre;
                          (iii) proposed co-counsel to the Debtors, Benton & Centeno LLP, 2019
                          Third Avenue North, Birmingham, Alabama 35203, Attn.: Lee R. Benton
                          and Samuel C. Stephens; (iv) the Office of the Bankruptcy Administrator
                          for the Northern District of Alabama, Robert S. Vance Federal Building,
                          1800 Fifth Avenue, Suite 300, Birmingham, Alabama 35203; (v) the
                          official committee of unsecured creditors (if any) appointed in these
                          chapter 11 cases and its counsel; (vi) counsel to the lenders under the
                          Debtors’ debtor-in-possession credit agreement and prepetition first-lien
                          credit agreements, Davis Graham & Stubbs LLP, 1550 17th Street, Suite
                          500, Denver, CO 80202, Attn: Christopher L. Richardson, and Kyler K.
                          Burgi, and Maynard Cooper & Gale, 1901 Sixth Avenue North Regions
                          Harbert Plaza, Suite 2400, Birmingham, AL 35203, Jayna Partain Lamar;
                          and (vii) to the extent not listed herein, those parties requesting notice
                          pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The
                          Debtors shall, in consultation with the DIP Lenders, honor such request
                          within five business days after the date the request is received by the
                          Debtors, subject to the ability of the Debtors, in consultation with the DIP
                          Lenders, and any such requesting Utility Company to resolve any dispute
                          regarding such request without further order of the Court. To the extent a

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                       Utility Company receives a disbursement from the Adequate Assurance
                       Account, the Debtors shall replenish the Adequate Assurance Account in
                       the amount disbursed.

                  d.   The portion of the Adequate Assurance Deposit attributable to each Utility
                       Company shall be returned to the Debtors on the earlier of (i) reconciliation
                       and payment by the Debtors of the Utility Company’s final invoice in
                       accordance with applicable nonbankruptcy law following the Debtors’
                       termination of Utility Services from such Utility Company and (ii) the
                       effective date of any chapter 11 plan confirmed in these chapter 11 cases.

                  e.   Any Utility Company desiring additional assurances of payment in the
                       form of deposits, prepayments, or otherwise must serve a request for
                       additional assurance (an “Additional Assurance Request”) on the Notice
                       Parties.

                  f.   Any Additional Assurance Request must (i) be in writing, (ii) identify the
                       location for which the Utility Services are provided, (iii) summarize the
                       Debtors’ payment history relevant to the affected account(s), (iv) certify
                       the amount that is equal to two weeks of the Utility Services the Utility
                       Company provides to the Debtors, calculated based on Debtors’ projected
                       use following the idling of the mine or any other minimum amount
                       required, and (v) certify that the Utility Company does not already hold a
                       deposit equal to or greater than two weeks of Utility Services.

                  g.   Any Additional Assurance Request may be made at any time. If a Utility
                       Company fails to file and serve an Additional Assurance Request, the
                       Utility Company shall be (i) deemed to have received “satisfactory”
                       adequate assurance of payment in compliance with section 366 of the
                       Bankruptcy Code and (ii) forbidden from discontinuing, altering, or
                       refusing Utility Services to, or discriminating against, the Debtors on
                       account of any unpaid prepetition charges, or requiring additional
                       assurance of payment other than the Proposed Adequate Assurance.

                  h.   Upon the Debtors’ receipt of any Additional Assurance Request, the
                       Debtors shall promptly negotiate with such Utility Company to resolve such
                       Utility Company’s Additional Assurance Request to negotiate with such
                       Utility Company to resolve such Utility Company’s Additional
                       Assurance Request.

                  i.   The Debtors may, in consultation with the DIP Lenders, and without further
                       order from the Court, resolve any Additional Assurance Request by mutual
                       agreement with a Utility Company and, the Debtors may, in connection with
                       any such agreement, and in consultation with the DIP Lenders, provide a
                       Utility Company with additional adequate assurance of payment, including,
                       but not limited to, cash deposits, prepayments, or other forms of security if
                       the Debtors believe, that such adequate assurance is reasonable, subject to


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                          the terms of any debtor in possession financing and cash collateral orders
                          entered by the Court.

                   j.     If the Debtors, in consultation with the DIP Lenders, and the Utility
                          Company are not able to reach an alternative resolution within 21 days of
                          receipt of the Additional Assurance Request, the Debtors will request a
                          hearing before the Court at the next regularly scheduled hearing to
                          determine the adequacy of assurances of payment with respect to a
                          particular Utility Company (the “Determination Hearing”) pursuant to
                          section 366(c)(3) of the Bankruptcy Code.

                   k.     Pending resolution of any such Determination Hearing, the Utility
                          Company filing such Additional Assurance Request shall be prohibited
                          from altering, refusing, or discontinuing Utility Services to the Debtors
                          on account of unpaid charges for prepetition services or on account of any
                          objections to the Proposed Adequate Assurance.

                   l.     The Adequate Assurance Account shall not be subject to any liens.

         4.     The Adequate Assurance Deposit and the Existing Deposits, together with the

 Debtors’ ability to pay for future utility services subject to the Adequate Assurance Procedures,

 shall constitute adequate assurance of future payment as required by section 366 of the Bankruptcy

 Code.

         5.     The Utility Companies are prohibited from requiring additional adequate assurance

 of payment other than pursuant to the Adequate Assurance Procedures.

         6.     The Debtors are authorized, in consultation with the DIP Lender, following the

 giving of two weeks’ notice to the affected Utility Company, and the Debtors having received no

 objection from any such Utility Company, to add or remove any Utility Company from the Utility

 Services List, and the Debtors shall add to or subtract from the Adequate Assurance Deposit an

 amount equal to one half the Debtors’ projected monthly cost of Utility Services calculated

 following the idling of the mine or the monthly minimum required to maintain the Utility Service,

 whichever is greater, for each subsequently added or removed Utility Company as soon as

 practicable. If an objection is received, the Debtors shall request a hearing before this Court at the



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 next regularly scheduled hearing date, or such other date that the Debtors and the Utility Company

 may agree. The Debtors shall not deduct from the Adequate Assurance Deposit the amount set

 aside for any Utility Company that the Debtors seek to terminate or delete from the Utility Service

 List unless and until the two week notice period has passed and the Debtors have not received any

 objection to termination or deletion from such Utility Company, or until any such objection has

 been resolved consensually or by order of the Court. For Utility Companies that are added to the

 Utility Services List, the Debtors will cause a copy of this Interim Order, including the Adequate

 Assurance Procedures, to be served on such subsequently added Utility Company. Any Utility

 Company subsequently added to the Utility Services List shall be bound by the Adequate

 Assurance Procedures. In addition, the Debtors will provide an Adequate Assurance Deposit in an

 amount equal to one half the Debtors’ projected monthly cost of Utility Services calculated

 following the idling of the mine or the monthly minimum required to maintain the Utility Service,

 whichever is greater for any Utility Company added to the Utility Services List as set forth herein.

        7.      The relief granted herein is for all Utility Companies providing Utility Services to

 the Debtors and is not limited to those parties or entities listed on the Utility Services List.

        8.      The Debtors’ service of the Motion upon the Utility Services List shall not

 constitute an admission or concession that each such entity is a “utility” within the meaning of

 section 366 of the Bankruptcy Code, and the Debtors reserve all rights and defenses with respect

 thereto.

        9.      Notwithstanding the relief granted in this Interim Order and any actions taken

 pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

 validity of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute

 any particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d)


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 an implication or admission that any particular claim is of a type specified or defined in this Interim

 Order or the Motion; (e) a request or authorization to assume or reject any agreement, contract, or

 lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’

 rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

 that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this Interim

 Order or the Motion are valid, and the Debtors expressly reserved their rights to contest the extent,

 validity, or perfection or seek avoidance of all such liens.

        10.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        11.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) are satisfied by such notice.

        12.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

 Order are immediately effective and enforceable upon its entry.

        13.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Interim Order in accordance with the Motion.

        14.     Notwithstanding anything to the contrary in this Interim Order, any payment made

 (or to be made) and any authorization contained in this Interim Order shall be subject to the terms,

 conditions, limitations, and requirements of any interim order authorizing postpetition secured

 financing and authorizing the Debtors’ use of cash collateral (together with any approved budget

 (including any permitted variances) in connection therewith, the “Interim DIP Order”), and to the

 extent there is any inconsistency between the terms of the Interim DIP Order and any action taken

 or proposed to be taken under this Interim Order, the terms of the Interim DIP Order (together with

 any approved budget (including any permitted variances) in connection therewith) shall control.




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        15.     All Adequate Assurance Deposits returned to the Debtors in accordance with this

 Interim Order shall, upon their return to the Debtor, constitute Cash Collateral of the DIP Lender.

        16.             This Court retains exclusive jurisdiction with respect to all matters arising

 from or related to the implementation, interpretation, and enforcement of this Interim Order.

 Dated: __________, 2019                       __________________________________________
 Birmingham, Alabama                           UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit B


                                  Final Order




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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

  In re:                                                       Chapter 11

  PINEY WOODS RESOURCES, INC., et al.,1                        Case No. 19-01390-DSC-11

                         Debtors.                              (Jointly Administered)



                       FINAL ORDER (I) APPROVING
            THE DEBTORS’ PROPOSED ADEQUATE ASSURANCE OF
     PAYMENT FOR FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY
   COMPANIES FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
  (III) APPROVING THE DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING
  ADDITIONAL ASSURANCE REQUESTS, AND (IV) GRANTING RELATED RELIEF



           Upon the Motion2 of the above-captioned Debtors for entry of a final order (this “Final

 Order”), (a) approving the Debtors’ Proposed Adequate Assurance of payment for future utility

 services, (b) prohibiting Utility Companies from altering, refusing, or discontinuing services,

 (c) approving the Adequate Assurance Procedures, and (d) granting related relief, all as more fully set

 forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction over this

 matter pursuant to 28 U.S.C. §§ 157 and 1334 and the General Order of Reference from the United

 States District Court for the Northern District of Alabama, dated January 12, 1995; and this Court

 having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court

 may enter a final order consistent with Article III of the United States Constitution; and this Court

 having found that venue of this proceeding and the Motion in this district is proper pursuant to 28



 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Piney Woods Resources, Inc. (0129) and Jesse Creek Mining, LLC (0533). The
 location of the Debtors’ service address is: 1615 Kent Dairy Road, Alabaster, Alabama 35007. Debtors have filed a
 motion for joint administration with the Court.
 2
           Capitalized terms shall have the same meanings as defined in the Motion unless otherwise defined herein.

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 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion and

 opportunity for a hearing on the Motion were appropriate under the circumstances and no other

 notice need be provided; and this Court having reviewed the Motion and having heard the

 statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

 and this Court having determined that the legal and factual bases set forth in the Motion and at the

 Hearing establish just cause for the relief granted herein; and upon all of the proceedings had before

 this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

 ORDERED THAT:

           1.   Subject to the Adequate Assurance Procedures, the Motion is granted on a final

   basis as set forth herein.

           2.   The following Adequate Assurance Procedures are hereby approved:


                   a.      Subject to paragraphs (e)–(h) herein, the Debtors will deposit the Adequate
                           Assurance Deposit, in the aggregate amount of $15,000.00, in the
                           Adequate Assurance Account within ten business days of entry of the
                           Interim Order.

                   b.      Each Utility Company (other than those with Existing Deposits) shall be
                           entitled to the funds in the Adequate Assurance Account in the amount
                           set forth for such Utility Company in the column labeled “Proposed
                           Adequate Assurance” on the Utility Services List.

                   c.      If an amount relating to Utility Services provided postpetition by a Utility
                           Company is unpaid, and remains unpaid beyond any applicable grace
                           period, such Utility Company may request a disbursement from the
                           Adequate Assurance Account by giving notice to: (i) the Debtors, 1615
                           Kent Dairy Road, Alabaster, AL 35007; (ii) proposed counsel to the
                           Debtors, Jackson Kelly PLLC, 175 E. Main Street, Ste. 500, Lexington,
                           KY 40507, Attn: Mary Elisabeth Naumann and Chacey R. Malhouitre;
                           (iii) proposed co-counsel to the Debtors, Benton & Centeno LLP, 2019
                           Third Avenue North, Birmingham, Alabama 35203, Attn.: Lee R. Benton
                           and Samuel C. Stephens; (iv) the Office of the Bankruptcy Administrator
                           for the Northern District of Alabama, Robert S. Vance Federal Building,
                           1800 Fifth Avenue, Suite 300, Birmingham, Alabama 35203; (v) the
                           official committee of unsecured creditors (if any) appointed in these
                           chapter 11 cases and its counsel; (vi) counsel to the lenders under the

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                       Debtors’ debtor-in-possession credit agreement and prepetition first-lien
                       credit agreements, Davis Graham & Stubbs LLP, 1550 17th Street, Suite
                       500, Denver, CO 80202, Attn: Christopher L. Richardson, and Kyler K.
                       Burgi, and Maynard Cooper & Gale, 1901 Sixth Avenue North Regions
                       Harbert Plaza, Suite 2400, Birmingham, AL 35203, Jayna Partain Lamar;
                       and (vii) to the extent not listed herein, those parties requesting notice
                       pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The
                       Debtors shall, in consultation with the DIP Lenders, honor such request
                       within five business days after the date the request is received by the
                       Debtors, subject to the ability of the Debtors, in consultation with the DIP
                       Lenders, and any such requesting Utility Company to resolve any dispute
                       regarding such request without further order of the Court. To the extent a
                       Utility Company receives a disbursement from the Adequate Assurance
                       Account, the Debtors shall replenish the Adequate Assurance Account in
                       the amount disbursed.

                  d.   The portion of the Adequate Assurance Deposit attributable to each Utility
                       Company shall be returned to the Debtors on the earlier of (i) reconciliation
                       and payment by the Debtors of the Utility Company’s final invoice in
                       accordance with applicable nonbankruptcy law following the Debtors’
                       termination of Utility Services from such Utility Company and (ii) the
                       effective date of any chapter 11 plan confirmed in these chapter 11 cases.

                  e.   Any Utility Company desiring additional assurances of payment in the
                       form of deposits, prepayments, or otherwise must serve a request for
                       additional assurance (an “Additional Assurance Request”) on the Notice
                       Parties.

                  f.   Any Additional Assurance Request must (i) be in writing, (ii) identify the
                       location for which the Utility Services are provided, (iii) summarize the
                       Debtors’ payment history relevant to the affected account(s), (iv) certify
                       the amount that is equal to two weeks of the Utility Services the Utility
                       Company provides to the Debtors, calculated based on Debtors’ projected
                       use following the idling of the mine or any other minimum amount
                       required, and (v) certify that the Utility Company does not already hold a
                       deposit equal to or greater than two weeks of Utility Services.

                  g.   Any Additional Assurance Request may be made at any time. If a Utility
                       Company fails to file and serve an Additional Assurance Request, the
                       Utility Company shall be (i) deemed to have received “satisfactory”
                       adequate assurance of payment in compliance with section 366 of the
                       Bankruptcy Code and (ii) forbidden from discontinuing, altering, or
                       refusing Utility Services to, or discriminating against, the Debtors on
                       account of any unpaid prepetition charges, or requiring additional
                       assurance of payment other than the Proposed Adequate Assurance.




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                  h.      Upon the Debtors’ receipt of any Additional Assurance Request, the
                          Debtors shall promptly negotiate with such Utility Company to resolve such
                          Utility Company’s Additional Assurance Request to negotiate with such
                          Utility Company to resolve such Utility Company’s Additional
                          Assurance Request.

                  i.      The Debtors may, in consultation with the DIP Lenders, and without further
                          order from the Court, resolve any Additional Assurance Request by mutual
                          agreement with a Utility Company and, the Debtors may, in connection with
                          any such agreement, and in consultation with the DIP Lenders, provide a
                          Utility Company with additional adequate assurance of payment, including,
                          but not limited to, cash deposits, prepayments, or other forms of security if
                          the Debtors believe, that such adequate assurance is reasonable, subject to
                          the terms of any debtor in possession financing and cash collateral orders
                          entered by the Court.

                  j.      If the Debtors, in consultation with the DIP Lenders, and the Utility
                          Company are not able to reach an alternative resolution within 21 days of
                          receipt of the Additional Assurance Request, the Debtors will request a
                          hearing before the Court at the next regularly scheduled hearing to
                          determine the adequacy of assurances of payment with respect to a
                          particular Utility Company (the “Determination Hearing”) pursuant to
                          section 366(c)(3) of the Bankruptcy Code.

                  k.      Pending resolution of any such Determination Hearing, the Utility
                          Company filing such Additional Assurance Request shall be prohibited
                          from altering, refusing, or discontinuing Utility Services to the Debtors
                          on account of unpaid charges for prepetition services or on account of any
                          objections to the Proposed Adequate Assurance.

                  l.      The Adequate Assurance Account shall not be subject to any liens.

         3.     The Adequate Assurance Deposit and the Existing Deposits, together with the

 Debtors’ ability to pay for future utility services subject to the Adequate Assurance Procedures,

 shall constitute adequate assurance of future payment as required by section 366 of the Bankruptcy

 Code.

         4.     The Utility Companies are prohibited from requiring additional adequate assurance

 of payment other than pursuant to the Adequate Assurance Procedures.

         5.     The Debtors are authorized, in consultation with the DIP Lender, following the giving

 of two weeks’ notice to the affected Utility Company, and the Debtors having received no objection


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 from any such Utility Company, to add or remove any Utility Company from the Utility Services

 List, and the Debtors shall add to or subtract from the Adequate Assurance Deposit an amount equal

 to one half the Debtors’ projected monthly cost of Utility Services calculated following the idling

 of the mine or the monthly minimum required to maintain the Utility Service, whichever is greater,

 for each subsequently added or removed Utility Company as soon as practicable. If an objection is

 received, the Debtors shall request a hearing before this Court at the next regularly scheduled hearing

 date, or such other date that the Debtors and the Utility Company may agree. The Debtors shall not

 deduct from the Adequate Assurance Deposit the amount set aside for any Utility Company that the

 Debtors seek to terminate or delete from the Utility Service List unless and until the two week notice

 period has passed and the Debtors have not received any objection to termination or deletion from

 such Utility Company, or until any such objection has been resolved consensually or by order of the

 Court. For Utility Companies that are added to the Utility Services List, the Debtors will cause a copy

 of this Final Order, including the Adequate Assurance Procedures, to be served on such subsequently

 added Utility Company. Any Utility Company subsequently added to the Utility Services List shall

 be bound by the Adequate Assurance Procedures. In addition, the Debtors will provide an Adequate

 Assurance Deposit in an amount equal to one half the Debtors’ projected monthly cost of Utility

 Services calculated following the idling of the mine or the monthly minimum required to maintain

 the Utility Service, whichever is greater, for any Utility Company added to the Utility Services

 List as set forth herein.

         6.      The relief granted herein is for all Utility Companies providing Utility Services to

 the Debtors and is not limited to those parties or entities listed on the Utility Services List.

         7.      The Debtors’ service of the Motion upon the Utility Services List shall not

 constitute an admission or concession that each such entity is a “utility” within the meaning of


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 section 366 of the Bankruptcy Code, and the Debtors reserve all rights and defenses with respect

 thereto.

        8.      Notwithstanding the relief granted in this Final Order and any actions taken pursuant

 to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the validity of

 any particular claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute any

 particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

 implication or admission that any particular claim is of a type specified or defined in this Final

 Order or the Motion; (e) a request or authorization to assume or reject any agreement, contract, or

 lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’

 rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

 that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this Final

 Order or the Motion are valid, and the Debtors expressly reserved their rights to contest the extent,

 validity, or perfection or seek avoidance of all such liens.

        9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) are satisfied by such notice.

        10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

 Order are immediately effective and enforceable upon its entry.

        11.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Final Order in accordance with the Motion.

        12.     Notwithstanding anything to the contrary in this Final Order, any payment made

 (or to be made) and any authorization contained in this Final Order shall be subject to the terms,

 conditions, limitations, and requirements of any final order authorizing postpetition secured

 financing and authorizing the Debtors’ use of cash collateral (together with any approved budget


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 (including any permitted variances) in connection therewith, the “Final DIP Order”), and to the

 extent there is any inconsistency between the terms of the Final DIP Order and any action taken

 or proposed to be taken under this Final Order, the terms of the Final DIP Order (together with any

 approved budget (including any permitted variances) in connection therewith) shall control.

        13.     All Adequate Assurance Deposits returned to the Debtors in accordance with this

 Final Order shall, upon their return to the Debtor, constitute cash collateral of the DIP Lender.

        14.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Final Order.


 Dated: __________, 2019                        __________________________________________
 Birmingham, Alabama                            UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit C


                              Utility Service List




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                                                                      Utility Service List1
                                                                                     Acct. No.                             Proposed
                                                                     Service(s)                                                             Existing
              Provider                       Address                                    (If           Debtor(s) Served     Adequate
                                                                     Provided                                                               Deposit
                                                                                     Known)                                Assurance
                            PO Box 242
     Alabama Power Company                                        Electric service                                         $12,500.00       Unknown
                            Birmingham, AL 35292                                                 Jesse Creek Mining, LLC
                            PO BOX 931581
     Southern LINC                                                Wireless comm                                            $   650.00       Unknown
                            Atlanta, GA 31193-1581                                               Jesse Creek Mining, LLC
                            213 1st Street North
     Alabaster Water Board                                        Water service                                            $        50.00   Unknown
                            Alabaster, AL 35007                                                  Jesse Creek Mining, LLC
     Montevallo Water Works 613 Valley Street                     Water/sewer
                            Montevallo, AL 35115                                                 Jesse Creek Mining, LLC   $        50.00   Unknown
     and Sewer                                                    service
                            P.O. Box 5526                         Trash & sewer
     Advantage Waste                                                                                                           --           Unknown
                            Birmingham, AL 35207                  svc                            Jesse Creek Mining, LLC
     Republic Service #802  P.O. Box 9001099                      Trash service                                            $   500.00       Unknown
                            Louisville, KY 40290-1099                                            Jesse Creek Mining, LLC
     Spire                  P.O. Box 2224                         Gas service                                              $        50.00   Unknown
                            Birmingham, AL 35246-0022                                            Jesse Creek Mining, LLC
     AT&T                   PO Box 5019                           Phone/internet                                           $   900.00       Unknown
                            Carol Stream, IL 60197                                               Jesse Creek Mining, LLC
     Sprint                 PO Box 4181                           Phone                                                    $   125.00       Unknown
                            Carol Stream, IL 60197-4181                                          Jesse Creek Mining, LLC
     Vulcan Telecom         1919 Kelly Lane                       Phone                                                    $   175.00       Unknown
                            Leeds, AL 35094                                                      Jesse Creek Mining, LLC




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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